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  8                           UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10
 11   UNITED STATES OF AMERICA,           )            Criminal Case No. 01CR1415-013-BTM
                                          )
 12                     Plaintiff,        )            ORDER
                                          )
 13         v.                            )
                                          )
 14   RODNEY SCOTT SHEHYN (13),           )
                                          )
 15                     Defendant.        )
      ____________________________________)
 16
 17          IT IS HEREBY ORDERED based upon the Stipulation of the parties and for good cause shown,
 18   that the Supervised Release for defendant Rodney Scott Shehyn shall be and is hereby terminated.
 19          SO ORDERED.
 20   DATED: September 20, 2007
 21
 22                                               Honorable Barry Ted Moskowitz
                                                  United States District Judge
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